         Case: 1:22-cv-05582 Document #: 37 Filed: 11/15/22 Page 1 of 15 PageID #:2066




                        IN THE UNITED STATES DISTRICT COURT FOR
                           THE NORTHERN DISTRICT OF ILLINOIS
                                    EASTERN DIVISION

    SEGA CORPORATION and SEGA OF
    AMERICA, INC.,                                         Case No. 22-cv-05582

                    Plaintiffs,
                                                           Judge Ronald A. Guzman
    v.
                                                           Magistrate Judge Sheila M.
    THE PARTNERSHIPS and                                   Finnegan
    UNINCORPORATED ASSOCIATIONS
    IDENTIFIED ON SCHEDULE “A,”

                    Defendants.

                             PRELIMINARY INJUNCTION ORDER

             Plaintiffs Sega Corporation and Sega of America, Inc. (“Sega” or “Plaintiffs”) filed a

    Motion for Entry of a Preliminary Injunction against the fully interactive, e-commerce stores 1

    operating under the seller aliases identified in Schedule A to the Complaint and attached hereto

    (collectively, “Defendants”) and the online marketplace accounts identified in Schedule A (the

    “Online Marketplaces”). After reviewing the Motion and the accompanying record, this Court

    GRANTS Sega’s Motion in part as follows.

             This Court finds Sega has provided notice to Defendants in accordance with the

    Temporary Restraining Order entered October 18, 2022, [19] (“TRO”), and Federal Rule of

    Civil Procedure 65(a)(1).

             This Court also finds, in the absence of adversarial presentation, that it has personal

    jurisdiction over Defendants because Defendants directly target their business activities toward

    consumers in the United States, including Illinois. Specifically, Sega has provided a basis to



1
    The e-commerce store urls are listed on Schedule A hereto.
  Case: 1:22-cv-05582 Document #: 37 Filed: 11/15/22 Page 2 of 15 PageID #:2067




conclude that Defendants have targeted sales to Illinois residents by setting up and operating

e-commerce stores that target United States consumers using one or more seller aliases, offer

shipping to the United States, including Illinois, and have sold products using infringing and

counterfeit versions of Sega’s federally registered trademarks (the “Sonic Trademarks”) and

products bearing unauthorized copies of Sega’s copyrighted works, which have been filed

under seal as Exhibit 2 to the Complaint (the “Sonic Copyrighted Works”), to residents of

Illinois. In this case, Sega has presented screenshot evidence that each Defendant e-commerce

store is reaching out to do business with Illinois residents by operating one or more commercial,

interactive internet stores through which Illinois residents can and do purchase products using

counterfeit versions of the Sonic Trademarks and/or bearing unauthorized copies of the Sonic

Copyrighted Works. See Docket No. [15], which includes screenshot evidence confirming that

each Defendant e-commerce store does stand ready, willing and able to ship its counterfeit

goods to customers in Illinois bearing infringing and/or counterfeit versions of the Sonic

Trademarks and/or unauthorized copies of the Sonic Copyrighted Works.

       This Court also finds that the injunctive relief previously granted in the TRO should

remain in place through the pendency of this litigation and that issuing this Preliminary

Injunction is warranted under Federal Rule of Civil Procedure 65. Evidence submitted in

support of this Motion and in support of Sega’s previously granted Motion for Entry of a TRO

establishes that Sega has demonstrated a likelihood of success on the merits; that no remedy at

law exists; and that Sega will suffer irreparable harm if the injunction is not granted.

       Specifically, Sega has proved a prima facie case of trademark infringement because (1)

the Sonic Trademarks are distinctive marks and are registered with the U.S. Patent and

Trademark Office on the Principal Register, (2) Defendants are not licensed or authorized to


                                                2
     Case: 1:22-cv-05582 Document #: 37 Filed: 11/15/22 Page 3 of 15 PageID #:2068




use any of the Sonic Trademarks, and (3) Defendants’ use of the Sonic Trademarks is causing

a likelihood of confusion as to the origin or sponsorship of Defendants’ products with Sega.

Sega has also proved a prima facie case of copyright infringement because it has demonstrated

that (1) Sega is the owner of its valid and enforceable Sonic Copyrighted Works, and (2)

Defendants, without any authorization from Sega, or any right under law, have deliberately

copied, displayed, distributed, reproduced, and/or made derivative works incorporating the

Sonic Copyrighted Works on the Seller Aliases and the corresponding Unauthorized Products.

Furthermore, Defendants’ continued and unauthorized use of the Sonic Trademarks and

copying Sonic Copyrighted Works irreparably harms Sega through diminished goodwill and

brand confidence, damage to Sega’s reputation, loss of exclusivity, and loss of future sales.

Monetary damages fail to address such damage and, therefore, Sega has an inadequate remedy

at law. Moreover, the public interest is served by entry of this Preliminary Injunction to dispel

the public confusion created by Defendants’ actions. Accordingly, this Court orders that:

1.       Defendants, their officers, agents, servants, employees, attorneys, and all persons acting

         for, with, by, through, under, or in active concert with them be preliminarily enjoined and

         restrained from:

         a. using the Sonic Trademarks or any reproductions, counterfeit copies, or colorable

            imitations in any manner in connection with the distribution, marketing, advertising,

            offering for sale, or sale of any product that is not a genuine Sega product or not

            authorized by Sega to be sold in connection with the Sonic Trademarks;

         b. reproducing, distributing copies of, making derivative works of, or publicly displaying the

            Sonic Copyrighted Works in any manner without the express authorization of Sega;

         c. passing off, inducing, or enabling others to sell or pass off any product as a genuine

             Sega product or any other product produced by Sega, that is not Sega’s or not
                                              3
     Case: 1:22-cv-05582 Document #: 37 Filed: 11/15/22 Page 4 of 15 PageID #:2069




            produced under the authorization, control, or supervision of Sega and approved by

            Sega for sale under the Sonic Trademarks;

         d. committing any acts calculated to cause consumers to believe that Defendants’

            products are those sold under the authorization, control, or supervision of Sega, or

            are sponsored by, approved by, or otherwise connected with Sega; and

         e. manufacturing, shipping, delivering, holding for sale, transferring or otherwise

            moving, storing, distributing, returning, or otherwise disposing of, in any manner,

            products or inventory not manufactured by or for Sega, nor authorized by Sega to

            be sold or offered for sale, and which bear any of Sega’s trademarks, including the

            Sonic Trademarks, or any reproductions, counterfeit copies, or colorable imitations

            thereof and/or which bear the Sonic Copyrighted Works.

2.       Defendants shall not transfer or dispose of any money or other of Defendants’ assets in

         any of Defendants’ financial accounts.

3.       Upon Sega’s request, Defendants and any third party with actual notice of this Order

         who is providing services for any of Defendants, or in connection with any of

         Defendants’ Online Marketplaces, including, without limitation, any online

         marketplace platforms such as ContextLogic Inc. d/b/a Wish.com (“Wish.com”),

         Fruugo.com (“Fruugo”), and SaraMart Limited (“SaraMart”) (collectively, the “Third

         Party Providers”), shall, within seven (7) calendar days after receipt of such notice,

         provide to Sega expedited discovery, limited to copies of documents and records in

         such person’s or entity’s possession or control sufficient to determine:




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     Case: 1:22-cv-05582 Document #: 37 Filed: 11/15/22 Page 5 of 15 PageID #:2070




         a. the identities and locations of Defendants, their officers, agents, servants,

            employees, attorneys, and any persons acting in active concert or participation with

            them, including all known contact information and all associated e-mail addresses;

         b. the nature of Defendants’ operations and all associated sales, methods of payment

            for services, and financial information, including, without limitation, identifying

            information associated with the Online Marketplaces and Defendants’ financial

            accounts, including Defendants’ sales and listing history related to their respective

            Online Marketplaces; and

         c. any financial accounts owned or controlled by Defendants, including their officers,

            agents, servants, employees, attorneys, and any persons acting in active concert or

            participation with them, including such accounts residing with or under the control

            of any banks, savings and loan associations, payment processors or other financial

            institutions, including, without limitation, PayPal, Inc. (“PayPal”), Wish.com,

            Fruugo, SaraMart, or other merchant account providers, payment providers, third

            party processors, and credit card associations (e.g., MasterCard and VISA).

4.       Upon Sega’s request, those with notice of this Order, including the Third Party Providers

         as defined in Paragraph 3, shall within seven (7) calendar days after receipt of such notice,

         disable and cease displaying any advertisements used by or associated with Defendants

         in connection with the sale of counterfeit and infringing goods using the Sonic

         Trademarks and/or which bear the Sonic Copyrighted Works.

5.       Any Third Party Providers, including PayPal, Wish.com, Fruugo, and SaraMart, shall,

         within seven (7) calendar days of receipt of this Order:




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     Case: 1:22-cv-05582 Document #: 37 Filed: 11/15/22 Page 6 of 15 PageID #:2071




         a. locate all accounts and funds connected to Defendants’ seller aliases, including, but

            not limited to, any financial accounts connected to the information listed in

            Schedule A hereto, the e-mail addresses identified in Exhibit 3 to the Declaration

            of Paul Varley, and any e-mail addresses provided for Defendants by third parties;

            and

         b. restrain and enjoin any such accounts or funds from transferring or disposing of any

            money or other of Defendants’ assets until further order by this Court.

6.       Sega may provide notice of the proceedings in this case to Defendants, including

         service of process pursuant to Fed. R. Civ. P. 4(f)(3), and any future motions, by

         electronically publishing a link to the Pleadings, this Order, and other relevant

         documents on a website and by sending an e-mail with a link to said website to the e-

         mail addresses identified in Exhibit 3 to the Declaration of Paul Varley and any e-mail

         addresses provided for Defendants by third parties. The Clerk of the Court is directed

         to issue a single original summons in the name of “The Partnerships and all other

         Defendants identified in the Complaint” that shall apply to all Defendants. The

         combination of providing notice via electronic publication and e-mail, along with any

         notice that Defendants receive from payment processors, shall constitute notice

         reasonably calculated under all circumstances to apprise Defendants of the pendency

         of the action and afford them the opportunity to present their objections.

7.       Plaintiffs’ Complaint [5] including Exhibits 1 and 2 and Schedule A [2]-[4], Plaintiffs’

         Motion for Entry of a Temporary Restraining Order, including a Temporary Injunction,

         a Temporary Asset Restraint, and Expedited Discovery [13] and accompanying

         supporting memorandum, declarations, and exhibits, including screenshot printouts


                                                 6
      Case: 1:22-cv-05582 Document #: 37 Filed: 11/15/22 Page 7 of 15 PageID #:2072




          showing the Defendants’ infringement of the Sonic Trademarks and/or Sonic

          Copyrighted Works [14]-[15], Plaintiffs’ Notice of Claims Involving Trademarks [8],

          Plaintiffs’ Notification of Affiliates [6], and the TRO [19] are unsealed.

 8.       Any Defendants that are subject to this Order may appear and move to dissolve or modify

          the Order as permitted by and in compliance with the Federal Rules of Civil Procedure

          and the Northern District of Illinois Local Rules. Any third party impacted by this Order

          may move for appropriate relief.

 9.       The $10,000 bond posted by Sega shall remain with the Court until a final disposition

          of this case or until this Preliminary Injunction is terminated.

                                                               SO ORDERED:


                                                               ______________________________
                                                               Ronald A. Guzman
                                                               United States District Judge
Dated: 11/15/2022




                                                   7
  Case: 1:22-cv-05582 Document #: 37 Filed: 11/15/22 Page 8 of 15 PageID #:2073



Sega Corporation and Sega of America, Inc. v. The Partnerships and Unincorporated Associations
                      Identified on Schedule “A” – Case No. 22-cv-05582

                                        Schedule A

No.            Seller Alias                                    URL
 1     Shenzhen Fengbo Trading            https://www.fruugo.us/search?merchantId=14442
 2    Shenzhenshixiaoxiannvkejiy          https://www.fruugo.us/search?merchantId=14634
              ouxiangongsi
  3    Akking Industrial Trading          https://www.fruugo.us/search?merchantId=14669
  4    Beijing Hui Xin Zhi Xiang          https://www.fruugo.us/search?merchantId=13810
      Shangmao Youxian Gongsi
  5   Binhaijiuyashangmaoyouxia           https://www.fruugo.us/search?merchantId=13493
                  ngongsi
  6   Breathless Ink (Guangzhou)          https://www.fruugo.us/search?merchantId=14592
                  Trading
  7      Cai Jiedong Electronic           https://www.fruugo.us/search?merchantId=14325
                  Product
  8   Chang Sha Shi Kan Dian Zi           https://www.fruugo.us/search?merchantId=15568
        Ke Ji You Xian Gong Si
  9         Changsha Lulang               https://www.fruugo.us/search?merchantId=13689
        Information Technology
 10           Changshashi                 https://www.fruugo.us/search?merchantId=13448
            handuoshangmao
             youxiangongsi
 11    Chen Yongmin Electronic            https://www.fruugo.us/search?merchantId=14323
          Product Management
               Department
 12    Chengde Jiubo Electronic           https://www.fruugo.us/search?merchantId=14481
               Commerce
 13      Chengdu Songdengyi               https://www.fruugo.us/search?merchantId=14924
                 Clothing
 14   Chengduruixuefengkejiyoux           https://www.fruugo.us/search?merchantId=15643
                iangongsi
 15            Chengdushi                 https://www.fruugo.us/search?merchantId=14938
      Yangfeiyushangmaoyouxian
                   gongsi
 16   Chengdusijinshangmaoyouxi           https://www.fruugo.us/search?merchantId=14937
                 angongsi
 17           DISMISSED                                    DISMISSED
 18   Dalian Guyinjiang Building          https://www.fruugo.us/search?merchantId=15142
        Decoration Engineering
 19    Dangshan Songyuanxia E-            https://www.fruugo.us/search?merchantId=13213
                commerce
 20       Dewenwils Network               https://www.fruugo.us/search?merchantId=15035
               Technology
 21     Dongguan Guohe Maoyi              https://www.fruugo.us/search?merchantId=15216
             Youxiangongsi

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Case: 1:22-cv-05582 Document #: 37 Filed: 11/15/22 Page 9 of 15 PageID #:2074




22   Dongguan Landai Electronic    https://www.fruugo.us/search?merchantId=14207
              Technology
23       Dongguan Yide Keji        https://www.fruugo.us/search?merchantId=14960
           Youxian Gongsi
24    Dongguan Yushengshiye        https://www.fruugo.us/search?merchantId=13031
            Youxiangongsi
25       Dongguanshi Zhibai        https://www.fruugo.us/search?merchantId=15213
            Dianzishangwu
            Youxiangongsi
26    Donguan Shi Wangniudun       https://www.fruugo.us/search?merchantId=15074
       Xiaolin Fu Zhuang Dian
27        Fangnuo Hardware         https://www.fruugo.us/search?merchantId=14326
           Processing Shop
28   Fuyuekejifazhan (Shanghai)    https://www.fruugo.us/search?merchantId=14489
            Youxiangongsi
29       Fuzhou Dengfenglai        https://www.fruugo.us/search?merchantId=13905
       Information Technology
30   Guang Zhou Hou Zhi Gong       https://www.fruugo.us/search?merchantId=14020
       Ying Lian Guan Li You
             Xian Gong Si
31    Guangzhou Baihe Yunjian      https://www.fruugo.us/search?merchantId=13755
             Trade Center
32   Guangzhou Fangqin Trading     https://www.fruugo.us/search?merchantId=14250
33     Guangzhou Haiyangxin        https://www.fruugo.us/search?merchantId=14932
             Shengwu Keji
            Youxiangongsi
34   Guangzhou Jiaming Trading     https://www.fruugo.us/search?merchantId=14377
35    Guangzhou Lianqi Dianzi      https://www.fruugo.us/search?merchantId=14920
          Kejiyouxiangongsi
36       Guangzhou Paiminsi        https://www.fruugo.us/search?merchantId=14531
                Express
37        Guangzhou Taopai         https://www.fruugo.us/search?merchantId=13752
       Department Store Center
38   Guangzhou Weiwei Trading      https://www.fruugo.us/search?merchantId=14458
39   Guangzhoufuhanjiajuyongpi     https://www.fruugo.us/search?merchantId=14422
            nyouxiangongsi
40   Guangzhourongjunwangluok      https://www.fruugo.us/search?merchantId=13726
           ejiyouxiangongsi
41           DISMISSED                              DISMISSED
42   Guangzhouwutingmaoyiyou       https://www.fruugo.us/search?merchantId=14767
               xiangongsi
43   Gusu District Tutan Trading   https://www.fruugo.us/search?merchantId=15363
                  Firm
44   Hailunshihuitengshangmaoy     https://www.fruugo.us/search?merchantId=13494
             ouxiangongsi
45    Hang Zhou Gang Ta Jia Ju     https://www.fruugo.us/search?merchantId=15577
      Shi Pin You Xian Gong Si



                                       9
Case: 1:22-cv-05582 Document #: 37 Filed: 11/15/22 Page 10 of 15 PageID #:2075




46          Hangzhou Jielin       https://www.fruugo.us/search?merchantId=13591
             Gongyinglian
            Youxiangongsi
47       Hangzhou Qiantong        https://www.fruugo.us/search?merchantId=13339
            Dianzishangwu
            Youxiangongsi
48    Hangzhou Zhuxingmaoyi       https://www.fruugo.us/search?merchantId=13013
            Youxiangongsi
49   He Fei Mao An Shang Mao      https://www.fruugo.us/search?merchantId=14844
          You Xian Gong Si
50    Hefei Gelinruier Network    https://www.fruugo.us/search?merchantId=14628
     Technology Youxiangongsi
51           DISMISSED                             DISMISSED
52      Henan Jize Enterprise     https://www.fruugo.us/search?merchantId=14329
       Management Consulting
53       Hubei Wangfu Trade       https://www.fruugo.us/search?merchantId=13699
                Service
54         Huizhou Huanhai        https://www.fruugo.us/search?merchantId=15279
              Technology
55       Huizhou Ruichangda       https://www.fruugo.us/search?merchantId=15041
              Technology
56     Jieyang City Rongcheng     https://www.fruugo.us/search?merchantId=14263
      Zhehan E-commerce Firm
57     Lanxi Julong Electronic    https://www.fruugo.us/search?merchantId=14881
              Commerce
58   Lechangmiaomushanmaoyiy      https://www.fruugo.us/search?merchantId=13797
             ouxiangongsi
59   Lehasiwangluokejiyouxiang    https://www.fruugo.us/search?merchantId=14942
                 ongsi
60       Lin Lewei Toy Shop       https://www.fruugo.us/search?merchantId=14324
61    LiXinXian HuiTaiShiPin      https://www.fruugo.us/search?merchantId=14614
     ShangMao YouXian GongSi
62    Lvhua Electronic Product    https://www.fruugo.us/search?merchantId=14261
      Management Department
63    Nan Tong You Hao Wang       https://www.fruugo.us/search?merchantId=14874
     Luo Ke Ji You Xian Gong Si
64      Nanfangyu (Shenzhen)      https://www.fruugo.us/search?merchantId=13312
      Guojimaoyiyouxiangongsi
65    Nantong Lunyang Trading     https://www.fruugo.us/search?merchantId=14306
66   Nantongwuniufangzhipinyo     https://www.fruugo.us/search?merchantId=14832
             uxiangongsi
67   Nanyangjinshizhuanshangm     https://www.fruugo.us/search?merchantId=15104
           aoyouxiangongsi
68   Ningbo Baiouqiang Trading    https://www.fruugo.us/search?merchantId=13913
69    Ningbo Shucheng Import      https://www.fruugo.us/search?merchantId=13934
           and Export Trade
70      Putian Weiyang Trade      https://www.fruugo.us/search?merchantId=13000



                                     10
Case: 1:22-cv-05582 Document #: 37 Filed: 11/15/22 Page 11 of 15 PageID #:2076




71             Qingdao            https://www.fruugo.us/search?merchantId=13348
     Tianyutuweimaoyiyouxiang
                 ongsi
72           DISMISSED                             DISMISSED
73       Qinhuangdao Youde        https://www.fruugo.us/search?merchantId=14877
          Trading Company
74     Shang Hai Lv Mu Shang      https://www.fruugo.us/search?merchantId=14941
        Mao You Xian Gong Si
75           DISMISSED                             DISMISSED
76     Shen Zhen Shi Li Xin De    https://www.fruugo.us/search?merchantId=14805
     Gong Mao You Xian Gong
                   Si
77    Shen Zhen Shi Yu Feng Yi    https://www.fruugo.us/search?merchantId=15682
       Ke Ji You Xian Gong Si
78   Shenzhen Aionia Enterprise   https://www.fruugo.us/search?merchantId=14007
             Management
79        Shenzhen Aisiting       https://www.fruugo.us/search?merchantId=15308
              Technology
80   Shenzhen Baixinhui Trading   https://www.fruugo.us/search?merchantId=14655
81        Shenzhen Bei Leda       https://www.fruugo.us/search?merchantId=13967
         Electronic Commerce
82   Shenzhen Binar Technology    https://www.fruugo.us/search?merchantId=13931
83        Shenzhen Boyajun        https://www.fruugo.us/search?merchantId=14594
              Technology
84    Shenzhen Darui Electronic   https://www.fruugo.us/search?merchantId=14980
              Commerce
85   Shenzhen Datian Chuangxin    https://www.fruugo.us/search?merchantId=15549
        Maoyi Youxian Gongsi
86      Shenzhen Fuzhongxin       https://www.fruugo.us/search?merchantId=14449
              Electronics
87        Shenzhen Genesis        https://www.fruugo.us/search?merchantId=14595
              Technology
88        Shenzhen Haiweisi       https://www.fruugo.us/search?merchantId=14970
              Technology
89      Shenzhen Hongxinmei       https://www.fruugo.us/search?merchantId=13196
      Technology Development
90     Shenzhen Huafei Trading    https://www.fruugo.us/search?merchantId=13832
91   Shenzhen Huanmu Trading      https://www.fruugo.us/search?merchantId=15417
92        Shenzhen Jiandarui      https://www.fruugo.us/search?merchantId=15208
              Technology
93           DISMISSED                             DISMISSED
94    Shenzhen Juxin Huicheng     https://www.fruugo.us/search?merchantId=15307
              Technology
95      Shenzhen Kuangbujiao      https://www.fruugo.us/search?merchantId=14484
              Technology
96      Shenzhen Lanke Times      https://www.fruugo.us/search?merchantId=14021
      Cross-border E-commerce
97       Shenzhen Lebanghui       https://www.fruugo.us/search?merchantId=14654
                Trading
                                     11
Case: 1:22-cv-05582 Document #: 37 Filed: 11/15/22 Page 12 of 15 PageID #:2077




98    Shenzhen Lifeng Electronic    https://www.fruugo.us/search?merchantId=14420
              Technology
99      Shenzhen Longyuntong        https://www.fruugo.us/search?merchantId=15075
              Technology
100     Shenzhen Lvpengcheng        https://www.fruugo.us/search?merchantId=14811
              Technology
101     Shenzhen Matt Zundian       https://www.fruugo.us/search?merchantId=14799
              Technology
102        Shenzhen Minglan         https://www.fruugo.us/search?merchantId=13833
              Technology
103        Shenzhen Qianrui         https://www.fruugo.us/search?merchantId=14554
              Technology
104   Shenzhen Qitian Technology    https://www.fruugo.us/search?merchantId=14929
105     Shenzhen Ruixin Puden       https://www.fruugo.us/search?merchantId=13912
              Technology
106      Shenzhen Tianying E-       https://www.fruugo.us/search?merchantId=15007
               commerce
107     Shenzhen Xingyou Star       https://www.fruugo.us/search?merchantId=14438
              Technology
108      Shenzhen Xinhui Jixie      https://www.fruugo.us/search?merchantId=14986
             Youxiangongsi
109    Shenzhen Yangtao Trading     https://www.fruugo.us/search?merchantId=14829
110   Shenzhen Yifenghe Trading     https://www.fruugo.us/search?merchantId=13511
111    Shenzhen Yitaoju Trading     https://www.fruugo.us/search?merchantId=14645
112     Shenzhen Yuantianheng       https://www.fruugo.us/search?merchantId=15177
              Technology
113        Shenzhen Yuyuan          https://www.fruugo.us/search?merchantId=14808
              Technology
114      Shenzhenshi Baoanqu        https://www.fruugo.us/search?merchantId=15402
         Bishun Shangmaohang
115      Shenzhenshi Meimao         https://www.fruugo.us/search?merchantId=15578
              Technology
116     Shenzhenshi Mingjianan      https://www.fruugo.us/search?merchantId=15606
           Kejiyouxiangongsi
117       Shenzhenshi Mitang        https://www.fruugo.us/search?merchantId=15421
       Fangzhipin Youxiangongsi
118     Shenzhenshi Nuoshilan       https://www.fruugo.us/search?merchantId=15504
        Dianzi Youxian Gongsi
119     Shenzhenshi Sinizefushi     https://www.fruugo.us/search?merchantId=15037
             Youxiangongsi
120   Shenzhenshichaohongtaimao     https://www.fruugo.us/search?merchantId=15232
            yiyouxiangongsi
121   Shenzhenshisimoerdianziyo     https://www.fruugo.us/search?merchantId=14940
              uxiangongsi
122   Shenzhenshisitaboruikejiyou   https://www.fruugo.us/search?merchantId=14580
               xiangongsi
123   Shenzhenshiyunjianmaoyiyo     https://www.fruugo.us/search?merchantId=14978
              uxiangongsi


                                       12
Case: 1:22-cv-05582 Document #: 37 Filed: 11/15/22 Page 13 of 15 PageID #:2078




124   Shenzhenshizhenchenggaok          https://www.fruugo.us/search?merchantId=14766
            ejiyouxiangongsi
125           DISMISSED                                  DISMISSED
126   Shenzhenyasujiajuyongpiny         https://www.fruugo.us/search?merchantId=15097
              ouxiangongsi
127   Shenzhouzhangliangwanglu          https://www.fruugo.us/search?merchantId=14633
          okejiyouxiangongsi
128     Wuhan Enbisi Electronic         https://www.fruugo.us/search?merchantId=14740
                Commerce
129      Wuhan Yahongshande             https://www.fruugo.us/search?merchantId=15209
          Network Technology
130       Wuhan Ziyouguang              https://www.fruugo.us/search?merchantId=15202
               Technology
131       Wuhan Ziyouguang              https://www.fruugo.us/search?merchantId=15202
               Technology
132      Wuhanshi Shenjingqi            https://www.fruugo.us/search?merchantId=14646
        Wangluo Keji Youxian
                  Gongsi
133    Xi An Shi Gao Xin Qu Lai         https://www.fruugo.us/search?merchantId=13202
          Ju Ya Bai Huo Dian
134     Xinxiang Yali Network            https://www.fruugo.us/search?merchantId=14863
135    Xinyu Maoxin Technology         https://www.fruugo.co.uk/search?merchantId=15207
136       Xinyushi Feitaokeji            https://www.fruugo.us/search?merchantId=15497
             Youxiangongsi
137    Yi Wu Shi Bei Le Dian Zi         https://www.fruugo.us/search?merchantId=15212
       Shang Wu You Xian Gong
                    Si
138         Yiwushi Ruitong             https://www.fruugo.us/search?merchantId=13737
             Dianzishangwu
             Youxiangongsi
139         Yiwushi Yunshu              https://www.fruugo.us/search?merchantId=13701
              Gongyinglian
         Guanliyouxiangongsi
140   Yiwushichenhanshipinyouxi         https://www.fruugo.us/search?merchantId=14995
                 angongsi
141    Zhongshan Orange Home      https://www.fruugo.us/search/?q=the+crow&merchantId=15072
               Technology
142      Zhongshan Zhengling            https://www.fruugo.us/search?merchantId=14276
         Electronic Technology
143   Zhoukoushiyuandishangmao          https://www.fruugo.us/search?merchantId=14629
             youxiangongsi
144            Xiaobeiber                     https://www.saramart.com/shop-39561
145        Anime Bag World           https://wish.com/merchant/5842ab71fef4094061849dd0
146        Anime Family CY           https://wish.com/merchant/5de64a77ce98c1468a2e1b7c
147               bigbait         https://www.wish.com/merchant/5d4d51f58388976673e6b6a2
148          bodhicitta tara         https://wish.com/merchant/563c97b978bc39378c6cce87
149              Calvinyy         https://www.wish.com/merchant/5e986f588aad5426ac56d236
150       CAOXINGQIAN43              https://wish.com/merchant/5ad17b95417cee288dcdc837

                                            13
Case: 1:22-cv-05582 Document #: 37 Filed: 11/15/22 Page 14 of 15 PageID #:2079




151        chenenzhou7779         https://www.wish.com/merchant/5ff66f1e1351e4155a0c7973
152         chengya288428            https://wish.com/merchant/581f324196585e0fa6b4add2
153         CHENXU1540            https://www.wish.com/merchant/607fd1007bf22e43512da565
154           Creaseteline        https://www.wish.com/merchant/5f606aeb238df1701fd39171
155            createtime            https://wish.com/merchant/5d569d562736783d156ddf78
156        dengtiantianshop       https://www.wish.com/merchant/5e82fcea1c0085c540635ee0
157               DXR                 https://wish.com/merchant/5d3fa91fe13a7e3f41bf050d
158      ELIM fashion store       https://www.wish.com/merchant/550ab2be8e8def0b2c654d4b
159              enugot              https://wish.com/merchant/5e96767a78e66802d2850f6f
160            eringtybv             https://wish.com/merchant/5e478505fba61942bfa95b8d
161          Forest Demon            https://wish.com/merchant/5dc3caca488db51148118fd0
162           gaosongppfz            https://wish.com/merchant/5acb58956be8734729117321
163              GBmd                 https://wish.com/merchant/5521f50a844f9c44d6c7a07c
164    Good boutique hat shop     https://www.wish.com/merchant/56dfe2b0e92d211697900253
165         Guizizijie Bags          https://wish.com/merchant/5de75da94c9c820a00c2112d
166        Guocheng_long              https://wish.com/merchant/5d569252cf6503245e7fd6ea
167             hcaiyun              https://wish.com/merchant/5e8724deb67d44aec0b3945b
168       Hello fashion store     https://www.wish.com/merchant/5512b0d98e8def07a462e1d7
169         helmmacyxksm             https://wish.com/merchant/5e4672ac29e7861cc0187078
170           Honesty lee         https://www.wish.com/merchant/569a5d2f11c8d25fb4054e5e
171         huangqianshan            https://wish.com/merchant/5881ef28dae1265bb580624c
172        hwqlanskdaokjz            https://wish.com/merchant/60506baea4493f55741102c4
173           jhzjl37shop             https://wish.com/merchant/5f7c3faf641706dd892df725
174        jiangdan667788             https://wish.com/merchant/5ffbfdfb649a82949e8a6121
175           kxme28shop              https://wish.com/merchant/5ea79be9b35a434c0c56a7df
176      laoNianYangYuZhi             https://wish.com/merchant/5ac9b54f1843543c84f04e40
177          LiaOMieHUa              https://wish.com/merchant/5ad2b8a854bd092b95eafdc7
178       lingjundexiaodian          https://wish.com/merchant/5d527d49152754368c5fe129
179         Liuxiyang0827            https://wish.com/merchant/5fd709525cb0081018911782
180           mammal ma              https://wish.com/merchant/5d4c27ec1d9a8e3b979a53dc
181            Manyuany           https://www.wish.com/merchant/5ee5b80fcd26ea0d80c1a147
182   Max and Louie New York         https://wish.com/merchant/60010f7554836d2ada2edae1
183            meiyitian             https://wish.com/merchant/5b8e0e6d9996c81e88b74993
184            Minliqijian           https://wish.com/merchant/5f9e6636b189b614bfd476ca
185              mishuf              https://wish.com/merchant/6044a56e035a8320403d7246
186              MMTJ                 https://wish.com/merchant/5f56ab715a02ce5498a53f2d
187       mutengteng12345             https://wish.com/merchant/5e577ba7abaf4a62757da8f4
188       Naturerle Skincare          https://wish.com/merchant/5de4830639adf24b0d6af28a
189        New Moon Shop              https://wish.com/merchant/616e34af3b861d1cf6eb61df
190     Online shoppingcmf           https://wish.com/merchant/57d38ed3b9f240105285411c
191          pumenggaizu              https://wish.com/merchant/5f5aeca32892d7f9b2244c72
192    Punk style fashion store      https://wish.com/merchant/5555c2252796100e66649edb
193          pursue dream             https://wish.com/merchant/576bc2cb3a698c086e03c0ff
                                           14
Case: 1:22-cv-05582 Document #: 37 Filed: 11/15/22 Page 15 of 15 PageID #:2080




194       Qiumengjia3698               https://wish.com/merchant/5e563ccd3326be7b9f9c8b0b
195             SA88                   https://wish.com/merchant/5e7a0871156f9c8ab5bd4f12
196          SAC A DOS             https://www.wish.com/merchant/5866439c207d124cb0c228f0
197        sadhjasudhyusa              https://wish.com/merchant/5e799ad935692d4f51c0d653
198        Saneydy baby's          https://www.wish.com/merchant/5f6805b58cd9d12abd7657f8
199       sunjingshopstate         https://www.wish.com/merchant/5e79d485a7357e83d9d26d8e
200        sunxianweimmj                https://wish.com/merchant/5faa04dc053fa4234c5da8cf
201           SuperBait             https://www.wish.com/merchant/5d54af576da4e2636aff15d1
202            Sweet17             https://www.wish.com/merchant/5767a7e379a5d67eef0d5cd7
203      TAOBOSS STORE                 https://wish.com/merchant/576f5ff01118eb74096a5315
204     Unforgettable fashion          https://wish.com/merchant/55311a071a8a220c1b804371
         store(factory price)
205             urrive                 https://wish.com/merchant/5fa504d51e7c1c730598c019
206      Vecipran Mulanbita            https://wish.com/merchant/5e9aa71629e7862b403150f2
207          vlddz19shop               https://wish.com/merchant/5e96db228f677406c3fde0a3
208         vwddt25shop            https://www.wish.com/merchant/5eb659d2e4a2bd5b3474301b
209     wangchunfang141618             https://wish.com/merchant/5dd8eb6029e78614408d8989
210         WGHZ Team                  https://wish.com/merchant/553236bfd39b0c41e64b7472
211      whydiamondpicture             https://wish.com/merchant/5a9943aeb125ab5bc0996757
212      WUHAIXIAJIAJIA                 https://wish.com/merchant/5ddf883b39adf295826af104
213         wuzhaofu7459               https://wish.com/merchant/5fd3068ba83a0454de3d2c74
214       wuzhongjun8747            https://www.wish.com/merchant/60a362f4ece8310044021fa3
215         wwjkxnizusd                https://wish.com/merchant/600a5b88d11c8940626c12cf
216         xiaojiguoyou               https://wish.com/merchant/5dbe752229e7860480ad966c
217        xiehongjia2333          https://www.wish.com/merchant/5d58b17e33f0b4273fbe9420
218           Xihuanlike                https://wish.com/merchant/5dabf0a969ce753f4cf66b6c
219           xinyushini                https://wish.com/merchant/5e9aec1bda2ff2773e42bab8
220           xszbqccmh            https://www.wish.com/merchant/60498171d2299a225673ed00
221    Xu Xu RuSheng shipin        https://www.wish.com/merchant/5b456f7df049001bb8aad469
222         YANGXUAN                    https://wish.com/merchant/56477ece3ecc6f129a06d1de
223      ybqguhnngricpqqd              https://wish.com/merchant/5ed0ab5d197c7a7911a06ed0
224   Yiwu boutique outlet store    https://www.wish.com/merchant/594a8e897fe241584f554f5a
225            Youjupin                https://wish.com/merchant/5f03e71b94b4c82ae8b6ddb7
226         yujuntao2880               https://wish.com/merchant/6140584dc9ba112335de1cf7
227    zhangxinshengyanwen          https://www.wish.com/merchant/5e84627ce6f7c93aea9bd4cf
228       zhuxiangyue5214              https://wish.com/merchant/5fe6a76ae94aa4b897de3094
229      ZYLshoppingmall               https://wish.com/merchant/589bd38bbe0fe7645949310b




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